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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
   UNITED STATES OF AMERICA, )
10                               )
                Plaintiff,       )             CASE NO.       CR06-206 RSM
11                               )
           v.                    )
12                               )
   STEVEN BRUCE MCKAY            )              BOND REVOCATION AND
13                               )              DETENTION ORDER
                                 )
14              Defendant.       )
                                 )
15 _____________________________ )
16 Date of Hearing: November 20, 2006
17 Violations charged:
18          (1)    Violation of the bond condition that he not use, consume or possess a
19                 controlled substance, unless the substance is prescribed to him by a
20                 physician, by using cocaine on or about October 27, 2006;
21          (2)    Violation of a special condition which requires that he comply with drug
22                 testing, by failing to call the telephone scheduling system as directed by
23                 Pretrial Services, on October 30, 2006 and October 31, 2006;
24          (3)    Violation of a special condition requiring he submit to drug and alcohol
25                 testing as directed by Pretrial Services, by failing to submit to testing on
26                 October 30, 2006 and November 1, 2006.

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 1           At today’s bond revocation hearing, I advised the defendant of these charges and
 2 of his constitutional rights. The defendant admitted to all violations. Accordingly, the bond
 3 was revoked as defendant poses a risk of nonappearance and danger to the community.
 4 It is therefore ORDERED:
 5           (1)    Defendant shall be detained pending trial and committed to the custody of
 6                  the Attorney General for confinement in a correctional facility separate, to
 7                  the extent practicable, from persons awaiting or serving sentences, or being
 8                  held in custody pending appeal;
 9           (2)    Defendant shall be afforded reasonable opportunity for private consultation
10                  with counsel;
11           (3)    On order of a court of the United States or on request of an attorney for the
12                  Government, the person in charge of the correctional facility in which
13                  Defendant is confined shall deliver the defendant to a United States Marshal
14                  for the purpose of an appearance in connection with a court proceeding; and
15           (4)    The clerk shall direct copies of this order to counsel for the United States,
16                  to counsel for the defendant, to the United States Marshal, and to the United
17                  States Pretrial Services Officer.
18
19           DATED this 20th day of November, 2006.
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22
                                                        A
                                                        MONICA J. BENTON
23                                                      United States Magistrate Judge

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     DETENTION ORDER
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